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                                    #:323



                             EXHIBIT A
Case 2:25-cv-00334-FMO-PD      Document 33-1    Filed 05/13/25   Page 2 of 90 Page ID
                                       #:324



 1 FRANK S. HEDIN (SBN 291289)
   HEDIN LLP
 2
   535 Mission Street, 14th Floor
 3 San Francisco, CA 94105
   Telephone: (305) 357-2107
 4
   Facsimile: (305) 200-8801
 5 E-Mail:     fhedin@hedinllp.com
 6 Counsel for Plaintiffs and Putative Class
 7
                             UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
10
11   TERESA TURNER, individually and Case No. 2:25−cv−00334−FMO−PD
     on behalf of all others similarly
12   situated,
13             Plaintiff,                      PLAINTIFF’S FIRST SET OF
                                               INTERROGATORIES
14
     V.
15
     NATIONAL NOTARY
16
     ASSOCIATION,
17
              Defendant.
18
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Case 2:25-cv-00334-FMO-PD      Document 33-1       Filed 05/13/25   Page 3 of 90 Page ID
                                       #:325



 1         Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff Teresa
 2 Turner requests that Defendant National Notary Association, respond to the following
 3 Interrogatories, in writing and under oath, within thirty (30) days from receipt of
 4 service.
 5                                    INSTRUCTIONS1
 6         1.    You are required to provide all information that is available to You,
 7 including information in the possession of Your attorneys, agents, or others under Your
 8 control, and not merely information known by virtue of Your own personal knowledge.
 9         2.    If You claim any sort of privilege, whether based on statute or otherwise,
10 as a ground for not answering, state the following:
11         (a) The date of any such information;
12         (b) The name, the present or last known home and business addresses and the
13 telephone numbers of those individuals who prepared, produced, reproduced or were
14 recipients of said information, or were a speaker of or listener to an oral
15 communication;
16         (c) A description of the subject matter sufficient to identify it without revealing
17 the information for which the privilege is claimed; and
18         (d) Each and every fact or basis upon which you claim any such privilege.
19         3.    These Interrogatories are continuing and require supplemental responses
20 pursuant to Federal Rule of Civil Procedure 26(e). You are obligated to change,
21 supplement and correct Your answers to conform to all available information,
22 including such information as becomes available to You after Your answers hereto are
23 served.
24         4.    If You object to any portion or aspect of any interrogatory, provide all
25 information responsive to the portion to which You do not object.
26
27   1
     Unless otherwise defined herein, all capitalized terms shall be given the meanings
28 assigned to them in the “Definitions” section below.
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 1         5.    Where an Interrogatory asks for a date, an amount, or any other specific
 2 information, if the precise date, amount, or other specific information is unknown to
 3 You, please approximate the information requested as precisely as You are reasonably
 4 capable of doing, and indicate that You have done so.
 5                                      DEFINITIONS
 6         1. “Action” means Case No. 2:25−cv−00334 pending in the Central District of
 7 California.
 8         2. “Facebook ID” means the unique combination of numbers associated with a
 9 user’s Facebook/Meta profile.
10         3. “Informed Written Consent” has the meaning set forth in 18 U.S.C. §
11 2170(b).
12         4. “Meta” means the company previously known as Facebook, Inc. and now
13 known as Meta Platforms, Inc.
14         5. “Person(s)” refers to natural persons, proprietorships, governmental
15 agencies, corporations, partnerships, trusts, joint ventures, groups, associations,
16 organizations, and all other entities.
17         6. “Personal Information” includes information that identifies a person as
18 having requested or obtained specific video materials or services from You, including
19 but not limited to a person’s name, address, email address, phone number, or payment
20 information; a person’s Facebook ID; the video title, subscription, or other service
21 requested or obtained by such person from You; the URL where such video title is
22 accessible; or any other data value that specifies the video content or service requested
23 or obtained by such person from You.
24         7. “Pixel” or “Meta Pixel” means a snippet of programming code that, once
25 installed on a webpage, sends information to Meta.
26         8. “Pixel ID” refers to the number associated with Defendant’s configuration of
27 the Meta Pixel on the www.nationalnotary.org website.
28         9. “Plaintiff” refers to Teresa Turner, the named plaintiff in the Action.
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 1         10. “Website” means nationalnotary.org.
 2         11. “You,” or “Your” refers collectively to the National Notary Association,
 3 together with all officers, directors, employees, agents, attorneys, affiliates, parents,
 4 subsidiaries, predecessors, successors, assigns, and any authorized dealers of any of
 5 the foregoing.
 6                              RULES OF CONSTRUCTION
 7         1. The terms “all” and “each” should be construed as “all and each.” The word
 8 “all” means “any and all,” and the word “any” means “any and all.”
 9         2. The term “including” means “including, but not limited to.” The term
10 “include(s)” means “include(s), without limitation.”
11         3. The connectives “and” and “or” shall be construed either disjunctively or
12 conjunctively as necessary to bring within the scope of the discovery request all
13 responses that might otherwise be construed to be outside of its scope.
14         4. The use of the singular form of any word includes the plural and vice versa.
15         5. The use of any tense of any verb shall also include within its meaning all
16 other tenses of that verb.
17                              RELEVANT TIME PERIOD
18         Unless otherwise stated, the relevant time period for the interrogatory is from
19 January 13, 2023 through the present.
20                                 INTERROGATORIES
21         1.    Identify all persons with knowledge of Your use of the Meta Pixel on
22 Your Website.
23         2.    State the number of Persons who requested videos, subscriptions, or other
24 services from Your Websites and whose information was disclosed to Meta during the
25 relevant time period.
26         3.    Describe the time period(s) for which You have used the Meta Pixel,
27 including the underlying events collected by the Meta Pixel and its associated
28 parameters, on the Website.
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 1         4.    State the Pixel ID(s) for the Meta Pixel(s) used on the Website.
 2         5.    Identify each individual involved in or with responsibility for the
 3 development, programming, installation or maintenance of any computer program or
 4 code on the Subject Website, including the Meta Pixel, obtained from or through any
 5 company offering digital advertising, such as targeted or custom advertising, including
 6 Meta.
 7         6.    Describe in what ways, if any, You have changed the functionality of the
 8 Meta Pixel installed on the Website, including adding, removing, or modifying
 9 categories of information, including underlying events and parameters it collects and
10 sends or causes to be sent to Meta, along with the dates You made any changes.
11         7.    Identify by name Your officers, employees, vendors, and agents who had
12 actual knowledge that Your use of the Meta Pixel resulted in the disclosure of Your
13 customers’ Personal Information to Meta, at the time such disclosure was allegedly
14 made.
15         8.    Describe every means by which you attempted to obtain Informed Written
16 Consent from Your customers before disclosing their Personal Information to Meta
17 and explain when, in the sales transaction process, You attempted to obtain Informed
18 Written Consent.
19
     Dated: April 14, 2025                 Respectfully submitted,
20
21                                         By: /s/ Frank S. Hedin         .
22                                         FRANK S. HEDIN (SBN 291289)
                                           HEDIN LLP
23                                         535 Mission Street, 14th Floor
24                                         San Francisco, CA 94105
                                           Telephone: (305) 357-2107
25                                         Facsimile: (305) 200-8801
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27
28                                         Counsel for Plaintiffs and Putative Class
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                                       #:329



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 6 Counsel for Plaintiffs and Putative Class
 7
                             UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
10
11   TERESA TURNER, individually and Case No. 2:25−cv−00334−FMO−PD
     on behalf of all others similarly
12   situated,
13             Plaintiff,                      PLAINTIFF’S FIRST SET OF
                                               REQUESTS FOR PRODUCTION
14
     V.
15
     NATIONAL NOTARY
16
     ASSOCIATION,
17
              Defendant.
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Case 2:25-cv-00334-FMO-PD     Document 33-1     Filed 05/13/25   Page 8 of 90 Page ID
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 1         Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff Teresa
 2 Turner requests that Defendant National Notary Association, respond to the following
 3 Requests for Production of Documents within thirty (30) days from receipt of service.
 4 The production shall occur at the offices of Hedin LLP, 1395 Brickell Ave., Suite 610,
 5 Miami, Florida, 33131, or at a location otherwise agreed upon by the parties.
 6                                   INSTRUCTIONS1
 7         1.    In producing responsive materials, You are to furnish all documents,
 8 communications, and electronically stored information (“ESI”) in Your possession,
 9 custody, or control, regardless of whether such documents, communications, or ESI
10 are possessed directly by You or Your employees; by any agent(s) of Yours; by any of
11 Your parent companies, subsidiaries, affiliates, or trusted business partners; by any
12 agent(s) of any of Your parent companies, subsidiaries, affiliates, or trusted business
13 partners; or by Your attorneys or their employees or investigators.
14         2.    These requests are continuing and require supplemental responses
15 pursuant to Federal Rule of Civil Procedure 26(e).
16         3.    Production of electronically stored information should be in PDF format,
17 and hardcopy documents should be scanned and produced as PDF images. Original
18 document orientation shall be maintained (i.e., portrait to portrait and landscape to
19 landscape). All documents must be searchable through Optical Character Recognition
20 (“OCR”). When subjecting documents to an OCR process, the settings of the OCR
21 software shall maximize text quality over process speed. Any settings such as “auto-
22 skewing,” “auto-rotation,” and the like should be turned on when documents are run
23 through the process.
24         4.    All documents must be assigned a Bates/control number that shall always:
25 (1) be unique across the entire document production, (2) maintain a constant length
26 (zero/0-padded) across the entire production, (3) contain no special characters or
27   1
     Unless otherwise defined herein, all capitalized terms shall be given the meanings
28 assigned to them in the “Definitions” section below.
Case 2:25-cv-00334-FMO-PD      Document 33-1     Filed 05/13/25   Page 9 of 90 Page ID
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 1 embedded spaces, and (4) be sequential within a given document. If a Bates number or
 2 set of Bates numbers is skipped in a production, the producing party will disclose the
 3 Bates numbers or ranges in a cover letter accompanying the production.
 4         5.    Unless words or terms have been given a specific definition herein, each
 5 word or term used herein shall be given its usual and customary dictionary definition
 6 except where such words have a specific custom and usage definition in a particular
 7 trade or industry, in which case they shall be interpreted in accordance with such usual
 8 custom and usage definition of which You are aware.
 9                                      DEFINITIONS
10         1. “Action” means Case No. 2:25−cv−00334 pending in the Central District of
11 California.
12         2. “Facebook ID” means the unique combination of numbers associated with a
13 user’s Facebook/Meta profile.
14         3. “Informed Written Consent” has the meaning set forth in 18 U.S.C. §
15 2170(b).
16         4. “Meta” means the company previously known as Facebook, Inc. and now
17 known as Meta Platforms, Inc.
18         5. “Person(s)” refers to natural persons, proprietorships, governmental
19 agencies, corporations, partnerships, trusts, joint ventures, groups, associations,
20 organizations, and all other entities.
21         6. “Personal Information” includes information that identifies a person as
22 having requested or obtained specific video materials or services from You, including
23 but not limited to a person’s name, address, email address, phone number, or payment
24 information; a person’s Facebook ID; the video title, subscription, or other service
25 requested or obtained by such person from You; the URL where such video title is
26 accessible; or any other data value that specifies the video content or service requested
27 or obtained by such person from You.
28
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                                     ID #:332



 1         7. “Pixel” or “Meta Pixel” means a snippet of programming code that, once
 2 installed on a webpage, sends information to Meta.
 3         8. “Pixel ID” refers to the number associated with Defendant’s configuration of
 4 the Meta Pixel on the www.nationalnotary.org website.
 5         9. “Plaintiff” refers to Teresa Turner, the named plaintiff in the Action.
 6         10. “Website” means nationalnotary.org.
 7         11. “You,” or “Your” refers collectively to National Notary Association, together
 8 with all officers, directors, employees, agents, attorneys, affiliates, parents,
 9 subsidiaries, predecessors, successors, assigns, and any authorized dealers of any of
10 the foregoing.
11                              RULES OF CONSTRUCTION
12         1. The terms “all” and “each” should be construed as “all and each.” The word
13 “all” means “any and all,” and the word “any” means “any and all.”
14         2. The term “including” means “including but not limited to.” The term
15 “include(s)” means “include(s), without limitation.”
16         3. The connectives “and” and “or” shall be construed either disjunctively or
17 conjunctively as necessary to bring within the scope of the discovery request all
18 responses that might otherwise be construed to be outside of its scope.
19         4. The use of the singular form of any word includes the plural and vice versa.
20         5. The use of any tense of any verb shall also include within its meaning all
21 other tenses of that verb.
22                              RELEVANT TIME PERIOD
23         Unless otherwise stated, the relevant time period for the production is from
24 January 13, 2023 through the present.
25                          DOCUMENTS TO BE PRODUCED
26         1.    All documents, communications and ESI concerning the Plaintiff.
27         2.    All documents, communications, and ESI concerning Your transmission
28 of any Person’s Personal Information to Meta.
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                                    ID #:333



 1        3.     All contracts, agreements, statements of work, work orders, order forms,
 2 or the like exchanged between You (or any other party acting on Your behalf) and Meta
 3 concerning Your use of the Metal Pixel or Your transmission of Personal Information
 4 to Meta.
 5        4.     All documents, communications, and ESI concerning the Meta Pixel,
 6 including the use of the Meta Pixel on Your website, Your Pixel ID, the ranges of dates
 7 during which the Meta Pixel was in use on the Website, and the conditions under which
 8 the Meta Pixel and its underlying events and parameters shared (or caused the sharing
 9 of) Personal Information of Your Website users with Meta.
10        5.     All documents, communications, and ESI concerning Your decision to
11 implement, and the installation of, the Meta Pixel, and its underlying events and
12 parameters, on Your Website.
13        6.     Documents, communications, and ESI, showing all the Personal
14 Information that was shared with Meta via the Meta Pixel on Your Website.
15        7.     All documents, communications, and ESI concerning the effect that Your
16 use of the Meta Pixel, including Your transmission of Personal Information to Meta,
17 has had on Your revenues, profits, projections or customer numbers.
18        8.     Website code, technical documentation, technical papers, and computer
19 source code sufficient to show the manner in which Your Website operated to collect
20 and transmit Your customers’ Personal Information by or through the Meta Pixel and
21 its underlying events and parameters installed on Your website.
22        9.     All documents, communications, and ESI concerning inquiries,
23 comments or complaints received by You concerning the sharing of customer
24 information with Meta.
25        10.    All documents, communications, and ESI regarding this Action or any
26 other lawsuit or contemplated lawsuit alleging violations of the VPPA arising out of
27 the use of the Meta Pixel, excluding privileged communications between You and Your
28 counsel.
Case 2:25-cv-00334-FMO-PD        Document 33-1 Filed 05/13/25       Page 12 of 90 Page
                                      ID #:334



 1         11.    Documents, communications, and ESI sufficient to show the number of
 2 unique Persons who requested or obtained any videos, subscriptions, or other services
 3 from Your Website, as well as documents, communications, and ESI sufficient to show
 4 the total number of purchases of and requests for videos, subscriptions, or other
 5 services on Your Website.
 6         12.    All documents, communications, and ESI sufficient to identify all the
 7 Persons who requested or obtained video materials or other services from You and
 8 whose Personal Information was transmitted to Meta, specifically including those
 9 individuals’ names and email addresses.
10         13.    All documents, communications and ESI that You contend evidence the
11 Informed Written Consent of the Plaintiff, or of any other Person who purchased or
12 otherwise requested or obtained video materials or services from You, to transmit or
13 otherwise disclose such Person’s Personal Information to Meta.
14         14.    Organizational charts and similar documents, communications, and ESI
15 identifying Your affiliates, subsidiaries, or parents, as well as lists of the directors,
16 officers, employees (and their titles or job positions) of You and each of Your affiliates,
17 subsidiaries, or parents.
18         15.    All documents, communications, and ESI concerning any insurance
19 agreement under which any Person carrying on an insurance business may be liable to
20 satisfy part or all of a judgment which may be entered in this Action or to indemnify
21 or reimburse You for payments made to satisfy any such judgment.
22         16.    Documents sufficient to show Your document retention policies,
23 including document retention or destruction policies with respect to e-mail or other
24 electronically stored or recorded documents.
25         17.    All documents, communications, and ESI identified, referenced, or
26 contemplated in Your answers to Plaintiff’s Interrogatories, or otherwise relied upon
27 in answering Plaintiff’s Interrogatories.
28
Case 2:25-cv-00334-FMO-PD       Document 33-1 Filed 05/13/25        Page 13 of 90 Page
                                     ID #:335



 1         18.   All documents, communications, and ESI that You intend to use to
 2 support any affirmative defense to Plaintiff’s claims alleged in the Action.
 3         19.   All documents, communications, and ESI that You intend to use to contest
 4 or oppose the certification of a class in the Action.
 5
     Dated: April 14, 2025                 Respectfully submitted,
 6
 7                                         By: /s/ Frank S. Hedin          .
 8                                         FRANK S. HEDIN (SBN 291289)
                                           HEDIN LLP
 9                                         535 Mission Street, 14th Floor
10                                         San Francisco, CA 94105
                                           Telephone: (305) 357-2107
11                                         Facsimile: (305) 200-8801
12                                         E-Mail:     fhedin@hedinllp.com
13
14                                         Counsel for Plaintiffs and Putative Class
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Case 2:25-cv-00334-FMO-PD           Document 33-1 Filed 05/13/25          Page 14 of 90 Page
                                         ID #:336




 1395 Brickell Avenue, Suite 610                                                  Elliot O. Jackson
 Miami, Florida 33131-3353                                                         (305) 357-2107
 www.hedinllp.com                                                           ejackson@hedinllp.com

                                         April 14, 2025

VIA EMAIL

Myriah V. Jaworski
Chirag Patel
CLARK HILL LLP
600 W. Broadway Suite 500
San Diego, California 92101

        Re:      Turner v. National Notary Association, No. 2:25-cv-00334-FMO-PD (C.D. Cal.)

Dear Counsel:

        Please take notice that pursuant to Federal Rule of Civil Procedure 45, Plaintiff, in the
aforementioned matter, will request that Meta Platforms, Inc. (“Meta”) and Momentive Software,
Inc. d/b/a CrowdWisdom produce documents. True and correct copies of the subpoenas that will
be served are enclosed with this correspondence.


                                                    Sincerely,


                                                    Elliot O. Jackson


Cc: all counsel of record (via email)
        Case 2:25-cv-00334-FMO-PD                           Document 33-1 Filed 05/13/25                             Page 15 of 90 Page
                                                                 ID #:337
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District
                                                         Central District ofof __________
                                                                             California
                          Teresa Turner
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:25-cv-00334-FMO-PD
                                                                              )
                 National Notary Association
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                  Meta Platforms, Inc.
To:                                                        1 Meta Way, Menlo Park, CA 94025
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
             See Schedule A



 Place: HEDIN LLP                                                                       Date and Time:
         535 Mission Street, 14th Floor
         San Francisco, CA 94105                                                                         April 30, 2025 at 10:00 AM

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/14/2025

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Elliot O. Jackson
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Teresa Turner
                                                                        , who issues or requests this subpoena, are:
Elliot O. Jackson, 1395 Brickell Ave. Suite 610 Miami, Florida 33131, ejackson@hedinllp.com, 305-357-2107

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 2:25-cv-00334-FMO-PD                           Document 33-1 Filed 05/13/25                             Page 16 of 90 Page
                                                                 ID #:338
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:25-cv-00334-FMO-PD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0       .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
        Case 2:25-cv-00334-FMO-PD                             Document 33-1 Filed 05/13/25                               Page 17 of 90 Page
                                                                   ID #:339
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

                                                DEFINITIONS

        1.      “Action” refers to Turner v. National Notary Association, Case No. 2:25-cv-00334-

FMO-PD pending in the Central District of California. A copy of the operative pleading is attached

hereto as Exhibit 1.

        2.      “Communications” means any disclosure, transfer, or exchange of information or

opinion, however made.

        3.      “Concerning” means comprising, consisting, containing, setting forth, showing,

disclosing, describing, explaining, mentioning, evidencing, reflecting, embodying, summarizing,

relating to, or referring to, directly or indirectly.

        4.      “Defendant”      refers    to    the    National   Notary   Association   (Pixel   ID:

184234421926479).

        5.       “Documents” is defined to be synonymous in meaning and equal in scope to the

usage of this term in Federal Rule of Civil Procedure 34(a), and includes Electronically Stored

Information (“ESI”).

        6.      “Facebook” means the Facebook social media platform.

        7.      “Facebook ID” means the unique combination of numbers associated with a user’s

Facebook profile.

        8.      “Identify” means (a) to state a person’s full name, home address, business address,

and present and past relationship to any party; or (b) to state the title of any document, who

prepared it, when it was prepared, where it is located, and who its custodian is.
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        9.     “Meta” means Meta Platforms, Inc., formerly known as Facebook, Inc., and

includes all predecessors, successors, divisions, subsidiaries, and affiliates, and any agents,

consultants, or other persons acting for or on behalf of any of them.

        10.    “Personally Identifiable Information” means information that identifies a person as

having requested or obtained specific video materials or services from a video tape service

provider, and is synonymous in meaning and equal in scope to the usage of this term in 18 U.S.C.

§ 2710(a)(3). For the purposes of these requests, Defendant is a “video tape service provider.”

        11.    “Pixel” or “Pixels” means programming code that, once installed on a website,

sends information about the Website’s subscribers or users to Meta.

        12.    “Pixel ID” refers to the number associated with Defendant’s website, which is

184234421926479.

        13.     “Plaintiff” refers to the named plaintiff in the Action, Teresa Turner, whose FID is

100000451901971.

        14.    “VPPA” means the Video Privacy Protection Act, 18 U.S.C. § 2710.

        15.    “Website” means www.nationalnotary.org.

        16.    “You” and “Your” as used herein shall refer to Meta and any of its parents,

predecessors, other affiliates, successors, or subsidiaries, including officers, directors, employees,

partners, agents, consultants, or any other person acting or purporting to act on behalf of such

entities.

                                         INSTRUCTIONS

        1.     Unless otherwise specified, the relevant time period for purposes of these requests

is from January 13, 2023 through the date of Your responses and includes all documents and
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information relating to events or transactions within this period, even if prepared, received, or

reviewed outside of this period.

       2.      Documents shall be produced in the manner and order in which they appear in Your

files, and shall not be shuffled or otherwise rearranged. Documents that were, in their original

condition, stapled, clipped, or otherwise fastened together shall be produced in such form.

       3.      For any objection grounded on a privilege or immunity, set forth the facts and

supporting material, including, where necessary, a privilege log disclosing the general nature of

what is being withheld and substantiating the basis of any claim of privilege or immunity,

including:

       a. The name(s) of the author(s) of the document;
       b. The name(s) of the sender(s) of the document;
       c. The name(s) of the person(s) who received the document or to whom copies
       were sent or exhibited at any time;
       d. The name(s) of all persons presently having possession of the document or
       a copy thereof;
       e. A brief description of the nature and subject matter of the document; and
       f. The privilege asserted and the statute, rule, decision, or other basis that is
       claimed to give rise to the privilege.

   4. If no documents exist that are responsive to any request to identify or to produce, so state.

                                   DOCUMENT REQUESTS

       1.      All Documents concerning Plaintiff (FID: 100000451901971) and Defendant

(Pixel ID: 184234421926479), including any video materials Plaintiff requested or obtained from

the Website, the Website URLs she visited, or any other information Concerning Plaintiff,

Defendant, and the Website in Meta’s custody, possession, or control.

       2.      Without temporal restriction, all Documents concerning the creation and

installation of any Pixels on the Website, including all Documents, Communications, and other
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information concerning the creation of the account, online agreement, and/or online dashboard

configurations.

       3.      Without temporal restriction, all Communications between Meta and Defendant

relating to any Pixel embedded on the Website, including Communications describing what

information would be or has been transmitted to Meta by Defendant or via the Pixels embedded

on the Website.

       4.      Without temporal restriction, Documents sufficient to indicate the period of time

that Meta has received information via any Pixel embedded on the Website.

       5.      Without temporal restriction, Documents sufficient to Identify how the Meta Pixel

was set up, configured, and implemented for the Website and/or Defendant.

       6.      Documents sufficient to show transmissions of data or information from the

Website and/or Defendant to Meta via the Pixel embedded on the Website that include: (i) a Meta

user’s Facebook ID; (ii) the titles of any prerecorded video materials requested, purchased, or

obtained by the Meta user; (iii) the URL of any prerecorded video materials requested, purchased,

or obtained by the Meta user; and/or (iv) any other data or information that provides the title of the

prerecorded video materials the Meta user requested, purchased, or obtained.

       7.      Without temporal restriction, Documents sufficient to show all discrete types or

categories of information or events that the Website and/or Defendant transmit, or has or have

transmitted, to Meta via the Pixel.

       8.      Documents sufficient to Identify all Personally Identifiable Information disclosed

to Meta through the Pixel by the Website and/or Defendant.

       9.      Documents sufficient to show the number of Meta users for whom the following

information was transmitted to Meta from the Website via the Pixel: (i) their Facebook IDs; (ii)
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the titles of any prerecorded video materials or subscriptions accessed, viewed, requested,

purchased, or obtained by the Meta user; (iii) the URL of any prerecorded video materials accessed,

viewed, requested or obtained by the Meta user; (iv) the URLs of any pages accessed, viewed,

requested, or obtained by the Meta user; (v) and/or any other data or information that provides the

title of the prerecorded video materials the Meta user requested or obtained.

       10.     Documents sufficient to show each transmission to Meta from the Website and/or

Defendant via the Pixel that included one of Meta’s user’s: (i) Facebook IDs; (ii) the titles of any

prerecorded video materials or subscriptions requested, purchased or obtained by the Meta user;

the URL of any prerecorded video materials accessed, viewed, requested, purchased, or obtained

by the Meta user; (iv) the URLs of any pages accessed, viewed, requested, purchased, or obtained

by the Meta user; (v) and/or any other data or information that provides the title of the prerecorded

video materials the Meta user requested, purchased, or obtained.

       11.     Documents sufficient to Identify each person whose Personally Identifiable

Information was disclosed to Meta by the Website and/or Defendant through the Pixel.

       12.     Documents sufficient to demonstrate all purposes for which Meta uses or used data

or information transmitted via the Pixel from the Website and/or Defendant.

       13.     All Documents and Communications relating to this Action, including

Communications between Meta and Defendant, non-privileged Documents and Communications

internal to Meta, and non-privileged Communications between Meta and any other third party.

       14.     All Communications between Meta and Defendant relating to Plaintiff’s Facebook

account.
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   Counsel for Plaintiff and
 5 the Putative Class

 6
                               UNITED STATES DISTRICT COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA

 8
     TERESA TURNER, individually and Case No. 2:25-cv-334
 9   on behalf of all others similarly
     situated,
10
                Plaintiff,                    CLASS ACTION COMPLAINT
11
     V.
                                              DEMAND FOR JURY TRIAL
12
     NATIONAL NOTARY
13   ASSOCIATION,

14              Defendant.

15         Plaintiff Teresa Turner, individually and on behalf of all others similarly

16 situated, makes the following allegations pursuant to the investigation of counsel and

17 based upon information and belief, except as to allegations pertaining specifically to

18 herself or her counsel, which are based on personal knowledge.

19                 A.        NATURE OF THE CASE

20         1.     Plaintiff brings this action to redress Defendant’s practice of selling,

21 renting, transmitting, and/or otherwise disclosing to Meta, records containing the

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 1 personal information of each of its customers, along with detailed information

 2 revealing the titles and subject matter of the videos and other audiovisual materials

 3 purchased by each customer in violation of the Video Privacy Protection Act, 18 U.S.C.

 4 § 2710 et seq. (“VPPA”).

 5         2.    Over the past two years, Defendant has systematically transmitted (and

 6 continue to transmit today) its customers’ personally identifying video viewing

 7 information to third parties, such as Meta Platforms, Inc. (“Meta”). The programming

 8 code for Meta is called the “Meta Pixel,” which Defendant chose to install on the

 9 www.nationalnotary.org website.

10         3.    The information Defendant disclosed (and continues to disclose) to Meta

11 via the Meta Pixel includes the customer’s Facebook ID (“FID”) and the specific title

12 of prerecorded videos that each of its customers purchased on Defendant’s Website.

13 An FID is a unique sequence of numbers linked to a specific Meta profile. A Meta

14 profile, in turn, identifies by name the specific person to whom the profile belongs (and

15 also contains other personally identifying information about the person). Entering

16 “Facebook.com/[FID]” into a web browser returns the Meta profile of the person to

17 whom the FID corresponds. Thus, the FID identifies a person more precisely than a

18 name, as numerous persons may share the same name, but each person’s Facebook

19 profile (and associated FID) uniquely identifies one and only one person. In the

20 simplest terms, the Meta Pixel installed by Defendant captures and discloses to Meta

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 1 information that reveals a particular person purchased a specific title of a prerecorded

 2 video on Defendant’s Website (hereinafter, “Private Video Information”).

 3          4.     Defendant disclosed and continue to disclose its customers’ Private Video

 4 Information to Meta without asking for, let alone obtaining, their consent to these

 5 practices.

 6          5.     The VPPA clearly prohibits what Defendant has done. Subsection (b)(1)

 7 of the VPPA provides that, absent the consumer’s prior informed, written consent, any

 8 “video tape service provider who knowingly discloses, to any person, personally

 9 identifiable information concerning any consumer of such provider shall be liable to

10 the aggrieved person for,” 18 U.S.C. § 2710(b)(1), damages in the amount of

11 $2,500.00, see id. § 2710(c).

12          6.     Accordingly, on behalf of herself and the putative Class members defined

13 below, Plaintiff brings this Class Action Complaint against Defendant for intentionally

14 and unlawfully disclosing her and Putative Class members’ Private Video Information

15 to Meta.

16                  B.    PARTIES

17     I.        Plaintiff Teresa Turner

18          7.     Plaintiff is, and at all times relevant hereto was, a citizen and resident of

19 San Luis Obispo County, California.

20          8.     Plaintiff is, and at all times relevant hereto was, a user of Meta.

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 1         9.     Plaintiff is a consumer of the video products and services offered on

 2 Defendant’s www.nationalnotary.org website. Including on or about August 2024,

 3 Plaintiff      purchased     prerecorded      video     material     from      Defendant’s

 4 www.nationalnotary.org website by requesting and paying for such material, providing

 5 her name, email address, and home address for delivery of such material. Defendant

 6 completed the sales of goods to Plaintiff by shipping or delivering the prerecorded

 7 video material she purchased to the address she provided in her order. Accordingly,

 8 Plaintiff requested or obtained, and is therefore a consumer of, prerecorded video

 9 material sold by Defendant on its website.

10         10.    At all times relevant hereto, including when requesting or obtaining

11 prerecorded video material from Defendant’s website, Plaintiff had a Meta account, a

12 Meta profile displaying her name and picture, and an FID associated with such profile.

13         11.    Plaintiff has never consented, agreed, authorized, or otherwise permitted

14 Defendant to disclose her Private Video Information to Meta. In fact, Defendant has

15 never even provided Plaintiff with written notice of its practices of disclosing its

16 customers’ Private Video Information to third parties such as Meta.

17         12.    Prior to and at the time she purchased prerecorded video material from

18 Defendant, Defendant did not notify Plaintiff that it would disclose the Private Video

19 Information of its customers generally or that of Plaintiff in particular, and Plaintiff has

20 never consented, agreed, authorized, or otherwise permitted Defendant to disclose her

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 1 Private Video Information to third parties. Plaintiff has never been provided any

 2 written notice that Defendant discloses its customers’ Private Video Information or any

 3 means of opting out of such disclosures of her Private Video Information.

 4            13.     Because Defendant disclosed Plaintiff’s Private Video Information

 5 (including her FID, unique identifiers, and her request or purchase of prerecorded video

 6 material from Defendant’s website) to third parties during the applicable statutory

 7 period, Defendant violated Plaintiff’s rights under the VPPA and invaded her

 8 statutorily conferred interest in keeping such information (which bears on her personal

 9 affairs and concerns) private.

10      II.         Defendant

11            14.     Defendant National Notary Association is a not-for-profit corporation

12 organized under the laws of California, with its headquarters at 9350 De Soto Ave.,

13 Chatsworth, California 91311. Defendant is the largest and oldest organization in the

14 United States serving notaries and training persons to be notaries through certifications,

15 trainings, seminars, conferences, and printed and online educational materials that

16 accompany these programs.

17                     C.    JURISDICTION AND VENUE

18            15.     The Court has subject-matter jurisdiction over this civil action pursuant to

19 28 U.S.C. § 1331 and 18 U.S.C. § 2710.

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 1         16.   Personal jurisdiction and venue are proper because Defendant maintains

 2 its headquarters and principal place of business in Los Angeles, California, within this

 3 judicial District.

 4                       VIDEO PRIVACY PROTECTION ACT

 5         17.   The VPPA prohibits companies (like Defendant) from knowingly

 6 disclosing to third parties (like Meta) information that personally identifies consumers

 7 (like Plaintiff) as having requested or obtained specific video(s) or other audio-visual

 8 materials from its Website.

 9         18.   Specifically, subject to certain exceptions that do not apply here, the

10 VPPA prohibits “a video tape service provider” from “knowingly disclos[ing], to any

11 person, personally identifiable information concerning any consumer of such

12 provider[.]” 18 U.S.C. § 2710(b)(1). The statute defines a “video tape service

13 provider” as “any person, engaged in the business . . . of rental, sale, or delivery of

14 prerecorded video cassette tapes or similar audio visual materials,” 18 U.S.C. §

15 2710(a)(4). It defines a “consumer” as “a renter, purchaser, or subscriber of goods or

16 services from a video tape service provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally

17 identifiable information’ includes information which identifies a person as having

18 requested or obtained specific video materials or services from a video tape service

19 provider.” 18 U.S.C. § 2710(a)(3).

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 1         19.   Leading up to the VPPA’s enactment in 1988, members of the United

 2 States Senate warned that “[e]very day Americans are forced to provide to businesses

 3 and others personal information without having any control over where that

 4 information goes.” Id. Senators at the time were particularly troubled by disclosures

 5 of records that reveal consumers’ purchases and rentals of videos and other audiovisual

 6 materials because such records offer “a window into our loves, likes, and dislikes,”

 7 such that “the trail of information generated by every transaction that is now recorded

 8 and stored in sophisticated record-keeping systems is a new, more subtle and pervasive

 9 form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens. Simon

10 and Leahy, respectively).

11         20.   Thus, in proposing the Video and Library Privacy Protection Act (which

12 later became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont

13 from 1975 to 2023) sought to codify, as a matter of law, that “our right to privacy

14 protects the choice of movies that we watch with our family in our own homes.” 134

15 Cong. Rec. S5399 (May 10, 1988). As Senator Leahy explained at the time, the

16 personal nature of such information, and the need to protect it from disclosure, is the

17 raison d’être of the statute: “These activities are at the core of any definition of

18 personhood. They reveal our likes and dislikes, our interests and our whims. They say

19 a great deal about our dreams and ambitions, our fears and our hopes. They reflect our

20 individuality, and they describe us as people.” Id.

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 1         21.   While these statements rang true in 1988 when the act was passed, the

 2 importance of legislation like the VPPA in the modern era of data mining is more

 3 pronounced than ever before. During a more recent Senate Judiciary Committee

 4 meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st

 5 Century,” Senator Leahy emphasized the point by stating: “While it is true that

 6 technology has changed over the years, we must stay faithful to our fundamental right

 7 to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’ mobile

 8 apps and other new technologies have revolutionized the availability of Americans’

 9 information.”1

10         22.   Former Senator Al Franken may have said it best: “If someone wants to

11 share what they watch, I want them to be able to do so . . . But I want to make sure that

12 consumers have the right to easily control who finds out what they watch—and who

13 doesn’t. The Video Privacy Protection Act guarantees them that right.”2

14         23.   In this case, however, Defendant deprived Plaintiff and numerous other

15 similarly situated persons of that right by systematically (and surreptitiously)

16
     1
     The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century,
17 Senate Judiciary Committee Subcommittee on Privacy, Technology and the Law,
   http://www.judiciary.          senate.gov/meetings/the-video-privacy-protection-act-
18 protecting-viewer-privacy-in-the- 21stcentury.
     2
19     Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
     franken.senate.gov (Jan. 31, 2012).
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 1 disclosing their Private Video Information to Meta, without providing notice to (let

 2 alone obtaining consent from) any of them, as explained in detail below.

 3                                BACKGROUND FACTS

 4         I.    Consumers’ Personal Information Has Real Market Value

 5         24.   In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

 6 Swindle remarked that “the digital revolution . . . has given an enormous capacity to

 7 the acts of collecting and transmitting and flowing of information, unlike anything

 8 we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

 9 defined by the existing data on themselves.”3

10         25.   Over two decades later, Commissioner Swindle’s comments ring truer

11 than ever, as consumer data feeds an information marketplace that supports a 26 billion

12 dollar per year online advertising industry in the United States.4

13         26.   The FTC has also recognized that consumer data possesses inherent

14 monetary value within the new information marketplace and publicly stated that:

15

16
     3
17   Transcript, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
   https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-
18 merging-and-exchanging-consumer-data/transcript.pdf.
     4
    See Julia Angwin and Emily Steel, Web’s Hot New Commodity: Privacy, Wall
19 Street       Journal         (Feb.     28,      2011),     available    at
   https://www.wsj.com/articles/SB10001424052748703529004576160764037920274.
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 1         Most consumers cannot begin to comprehend the types and amount of

 2 information collected by businesses, or why their information may be commercially

 3 valuable. Data is currency. The larger the data set, the greater potential for analysis –

 4 and profit.5

 5         27.    In fact, an entire industry exists while companies known as data

 6 aggregators purchase, trade, and collect massive databases of information about

 7 consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

 8 information in an open and largely unregulated market.6

 9         28.    The scope of data aggregators’ knowledge about consumers is immense:

10 “If you are an American adult, the odds are that [they] know[] things like your age,

11 race, sex, weight, height, marital status, education level, politics, buying habits,

12 household health worries, vacation dreams—and on and on.”7

13

14   5
       Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
   https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
15 exploring-privacy-roundtable/091207privacyroundtable.pdf
     6
16  See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31,
   2012), available at http://moneyland.time.com/2012/07/31/big-data-knows-what-
17 youre-doing-right-now/ .
     7
     N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times
18 (June                16,              2012),              available           at
   https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
19 consumer-database-
   marketing.html#:~:text=It's%20called%20the%20Acxiom%20Corporation,to%20kno
20 w%20much%2C%20much%20more.

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 1         29.   Further, “[a]s use of the Internet has grown, the data broker industry has

 2 already evolved to take advantage of the increasingly specific pieces of information

 3 about consumers that are now available.”8

 4         30.   Recognizing the severe threat the data mining industry poses to

 5 consumers’ privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-

 6 Partisan Privacy Caucus sent a letter to nine major data brokerage companies seeking

 7 information on how those companies collect, store, and sell their massive collections

 8 of consumer data, stating in pertinent part:

 9         By combining data from numerous offline and online sources, data
           brokers have developed hidden dossiers on every U.S. consumer. This
10         large[-]scale aggregation of the personal information of hundreds of
           millions of American citizens raises a number of serious privacy
11         concerns.9

12         31.   Data aggregation is especially troublesome when consumer information

13 is sold to direct-mail advertisers. In addition to causing waste and inconvenience,

14 direct-mail advertisers often use consumer information to lure unsuspecting consumers

15

16
     8
    Letter from Sen. J. Rockefeller IV, Sen. Cmtee. On Commerce, Science,
17 and Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012)
   available at https://www.commerce.senate.gov/services/files/3bb94703-5ac8-4157-
18 a97b-%20a658c3c3061c.
     9
19   See Bipartisan Group of Lawmakers Query Data Brokers About Practices
   Involving Consumers’ Personal        Information, Website        of     Sen.
           Markey         (July         24,         2012),         available        at
20 https://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
   query-data-brokers-about-practices-involving-consumers-personal-information.
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 1 into various scams, including fraudulent sweepstakes, charities, and buying clubs.

 2 Thus, when companies like Defendant share information with data aggregators, data

 3 cooperatives, and direct-mail advertisers, they contribute to the “[v]ast databases” of

 4 consumer data that are often “sold to thieves by large publicly traded companies,”

 5 which “put[s] almost anyone within the reach of fraudulent telemarketers” and other

 6 criminals.10

 7              32.   Disclosures like Defendant’s are particularly dangerous to the elderly.

 8 “Older Americans are perfect telemarketing customers, analysts say, because they are

 9 often at home, rely on delivery services, and are lonely for the companionship that

10 telephone callers provide.”11

11              33.   The FTC notes that “[t]he elderly often are the deliberate targets of

12 fraudulent telemarketers who take advantage of the fact that many older people have

13 cash reserves or other assets to spend on seemingly attractive offers.”12

14              34.   Indeed, an entire black market exists while the personal information of

15 vulnerable elderly Americans is exchanged.            Thus, information disclosures like

16

17
     10
     See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May
18 20, 2007), available at https://www.nytimes.com/2007/05/20/business/20tele.html.
     11
19        Id.
     12
     Prepared Statement of the FTC on “Fraud Against Seniors” before the Special
20 Committee on Aging, United States Senate (August 10, 2000).

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 1 Defendant’s are particularly troublesome because of their cascading nature: “Once

 2 marked as receptive to [a specific] type of spam, a consumer is often bombarded with

 3 similar fraudulent offers from a host of scam artists.”13

 4               35.     Defendant is not alone in violating its customers’ statutory rights and

 5 jeopardizing their well-being in exchange for increased revenue: disclosing customer

 6 and subscriber information to data aggregators, data appenders, data cooperatives,

 7 direct marketers, and other third parties has become a widespread practice.

 8 Unfortunately for consumers, however, this growth has come at the expense of their

 9 most basic privacy rights.

10         II.         Consumers Place Monetary Value on Their Privacy and Consider
                       Privacy Practices When Making Purchases
11
                 36.     As the data aggregation industry has grown, so has consumer concerns
12
     regarding personal information.
13
                 37.     A survey conducted by Harris Interactive on behalf of TRUSTe, Inc.
14
     showed that 89 percent of consumers polled avoid doing business with companies who
15
     they believe do protect their privacy online.14 As a result, 81 percent of smartphone
16

17
     13
          Id.
18   14
       See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
19 http://www.theagitator.net/wp-
   content/uploads/012714_ConsumerConfidenceReport_US1.pdf.
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 1 users polled said that they avoid using smartphone apps that they don’t believe protect

 2 their privacy online.15

 3              38.   Thus, as consumer privacy concerns grow, consumers increasingly

 4 incorporate privacy concerns and values into their purchasing decisions, and

 5 companies viewed as having weaker privacy protections are forced to offer greater

 6 value elsewhere (through better quality and/or lower prices) than their privacy-

 7 protective competitors. In fact, consumers’ personal information has become such a

 8 valuable commodity that companies are beginning to offer individuals the opportunity

 9 to sell their personal information themselves.16

10              39.   These companies’ business models capitalize on a fundamental tenet

11 underlying the personal information marketplace: consumers recognize the economic

12 value of their private data. Research shows that consumers are willing to pay a

13 premium to purchase services from companies that adhere to more stringent policies

14 of protecting their personal data.17

15

16   15
          Id.
     16
17    See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal
   Data,
18 N.Y.          Times         (Feb.       12,        2012),         available        at
   https://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
   price-on-their-personal-data.html.
19
   17
      See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information
20 on Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see
   also European Network and Information Security Agency, Study on Monetizing Privacy
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 1           40.      Thus, in today’s digital economy, individuals and businesses alike place

 2 a real, quantifiable value on consumer data and corresponding privacy rights.18 As

 3 such, where a business offers customers a product or service that includes statutorily

 4 guaranteed privacy protections, yet fails to honor these guarantees, the customer

 5 receives a product or service of less value than the product or service paid for.

 6        III.     Defendant Use the Meta Pixel to Systematically Disclose its customers’
                   Private Video Information to Meta
 7
             41.     As alleged below, when a consumer requests or obtains a particular
 8
     prerecorded video on Defendant’s Website, the Meta Pixel technology that Defendant
 9
     intentionally installed on its Website transmits (1) the unencrypted FID for each
10
     purchaser; (2) detailed information revealing the titles and subject matter of the
11
     prerecorded videos requested or obtained by each of its purchasers; and (3) the URL
12
     where such videos are available for purchase, without the consumer’s consent and in
13
     clear violation of the VPPA.
14

15

16

17
   (Feb. 27, 2012), available at https://www.enisa.europa.eu/publications/monetising-
18 privacy.
     18
19      See Hann, et al., The Value of Online Information Privacy: An Empirical
     Investigation      (Oct.        2003)          at       2, available    at
     https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf.
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 1            A.    The Meta Pixel

 2            42.   On February 4, 2004, Mark Zuckerberg and others launched Facebook,

 3 now known as “Meta”.19 Meta is now the world’s largest social media platform. To

 4 create a Meta account, a person must provide, inter alia, his or her first and last name,

 5 birth date, gender, and phone number or email address.

 6            43.   The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a

 7 unique string of code that companies can embed on their websites to monitor and track

 8 the actions taken by visitors to their websites and to report them back to Meta. This

 9 allows companies like Defendant to build detailed profiles about its customers and to

10 serve them with highly targeted advertising.

11            44.   Additionally, the Meta Pixel installed on a company’s website allows

12 Meta to “match [] website visitors to their respective Facebook User accounts.”20 This

13 is because Meta has assigned to each of its users an “FID” number – a unique and

14 persistent identifier that allows anyone to look up the user’s unique Meta profile and

15 thus identify the user by name21 – and because each transmission of information made

16

17
     19
18        See Facebook, “Company Info,” available at https://about.fb.com/company-info./.
     20
           Meta,     “Get      Started   –      Meta       Pixel,”         available        at
19 https://developers.facebook.com/docs/meta-pixel/get-started/.

20   21
       For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into
     Facebook and typing www.facebook.com/4 in the web browser retrieves Mark
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 1 from a company’s website to Meta via the Meta Pixel is accompanied by, inter alia,

 2 the FID of the website’s visitor.

 3              45.   As Meta’s developer’s guide explains, installing the Meta Pixel on a

 4 website allows Meta to track actions that users with Meta accounts take on the site.

 5 Meta states that “Examples of [these] actions include adding an item to their shopping

 6 cart or making a purchase.”22

 7              46.   Meta’s Business Tools Terms govern the use of Meta’s Business Tools,

 8 including the Meta Pixel.23

 9              47.   Meta’s Business Tools Terms state that website operators may use Meta’s

10 Business Tools, including the Meta Pixel, to transmit the “Contact Information” and

11 “Event Data” of their website’s visitors to Meta.

12              48.   Meta’s Business Tools Terms define “Contact Information” as

13 “information that personally identifies individuals, such as names, email addresses, and

14 phone numbers . . . .”24

15

16 Zuckerberg’s Facebook page: www.facebook.com/zuck, and all of the additional
   personally identifiable information contained therein.
17
   22
             Meta,          “About        Meta          Pixel,” available    at
18 https://www.facebook.com/business/help/742478679120153?id=1205376682832142.
     23
19           Meta,    “Meta      Business     Tools            Terms,”       available     at
     https://www.facebook.com/legal/technology_terms.
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 1              49.   Meta’s Business Tools Terms state: “You instruct us to process the

 2 Contact Information solely to match the Contact Information against user IDs [e.g.,

 3 FIDs] (“Matched User IDs”), as well as to combine those user IDs with corresponding

 4 Event Data.”25

 5              50.   The Business Tools Terms define “Event Data” as, inter alia,

 6 “information that you share about people and the actions that they take on your

 7 websites and apps or in your shops, such as visits to your sites, installations of your

 8 apps, and purchases of your products.”26

 9              51.   Website operators use the Meta Pixel to send information about visitors

10 to their Websites to Meta. Every transmission to Meta accomplished through the Meta

11 Pixel includes at least two elements: (1) the website visitor’s FID and (2) the webpage’s

12 URL triggering the transmission.

13              52.   Depending on the configuration of the Meta Pixel, the website may also

14 send Event Data to Meta. Defendant have configured the Meta Pixel on its Website to

15 send Event Data to Meta.

16

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19   25
          Id.
20   26
          Id.
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 1            53.   When website operators make transmissions to Meta through the Meta

 2 Pixel, none of the following categories of information are hashed or encrypted: the

 3 visitor’s FID, the website URL, or the Event Data.

 4            54.   Every website operator installing the Meta Pixel must agree to the Meta

 5 Business Tools Terms.27

 6            55.   Moreover, the Meta Pixel can follow a consumer to different websites and

 7 across the Internet even after the consumer’s browser history has been cleared.

 8            56.   Meta has used the Meta Pixel to amass a vast digital database of dossiers

 9 comprised of highly detailed personally identifying information about each of its

10 billions of users worldwide, including information about all of its users’ interactions

11 with any of the millions of websites across the Internet on which the Meta Pixel is

12 installed. Meta then monetizes this Orwellian database by selling advertisers the ability

13 to serve highly targeted advertisements to the persons whose personal information is

14 contained within it.

15            57.   Simply put, if a company chooses to install the Meta Pixel on its website,

16 both the company who installed it and Meta (the recipient of the information it

17

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 1 transmits) are then able to “track [] the people and type of actions they take,”28

 2 including, as relevant here, the specific prerecorded video material that they purchase

 3 from Defendant’s website.

 4         B.     Defendant Knowingly Uses the Meta Pixel to Transmit the Private
                  Video Information of its Customers to Meta
 5
           58.    Defendant sells various prerecorded video materials on its Website,
 6
     www.nationalnotary.org, including online courses and certification programs on
 7
     various topics, including becoming a licensed notary or signing agent.
 8
           59.    To purchase prerecorded video material from both Defendant’s Website,
 9
     a person must provide at least his or her name, email address, billing address, and credit
10
     or debit card (or other form of payment) information.
11
           60.    During the purchase process on Defendant’s Website, Defendant uses –
12
     and has used at all times relevant hereto – the Meta Pixel to disclose to Meta the
13
     unencrypted FID of the person who made the purchase and the specific title of video
14
     material that the person purchased (as well as the URL where such video material is
15
     available for purchase).
16

17

18   28
      Meta, “Retargeting: How to Advertise to Existing Customers with Ads on
19 Facebook,”                               available                      at
   https://www.facebook.com/business/goals/retargeting?checkpoint_src=any.
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 1         61.    In order to take advantage of the targeted advertising and other

 2 informational and analytical services offered by Meta, Defendant intentionally

 3 programmed its Website (by following step-by-step instructions from Meta’s website)

 4 to include the Meta Pixel code, which systematically transmits to Meta the FID of each

 5 person with a Meta account who purchases prerecorded video material on Defendant’s

 6 Website, along with the specific title of the prerecorded video material that the person

 7 purchased.

 8         62.    With only a person’s FID and the title of the prerecorded video material

 9 (or URL where such material is available for purchase) that the person purchased from

10 Defendant’s Website —all of which Defendant knowingly and systematically provides

11 to Meta—any ordinary person could learn the identity of the person to whom the FID

12 corresponds and the subscription or the title of the specific prerecorded video material

13 that the person purchased (and thus requested and obtained). This can be accomplished

14 simply by accessing the URL www.facebook.com/ and inserting the person’s FID.

15         63.    Defendant’s practice of disclosing the Private Video Information of its

16 customers to Meta continued unabated for the duration of the two-year period

17 preceding the filing of this action. At all times relevant hereto, whenever Plaintiff or

18 any other person purchased prerecorded video material from Defendant on its Website,

19 Defendant disclosed to Meta (inter alia) the specific title of the video material that was

20 requested or obtained (including the URL where such material is available for

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 1 purchase), along with the FID of the person who requested or obtained it (which, as

 2 discussed above, uniquely identified the person).

 3         64.   At all times relevant hereto, Defendant knew the Meta Pixel was

 4 disclosing its customers’ Private Video Information to Meta.

 5         65.   Although Defendant could easily have programmed its Website so that

 6 none of its customers’ Private Video Information is disclosed to Meta, Defendant

 7 instead chose to program its Website so that all of its customers’ Private Video

 8 Information is disclosed to Meta.

 9         66.   Before transmitting its customers’ Private Video Information to Meta,

10 Defendant failed to notify any of them that it would do so, and none of them have ever

11 consented (in writing or otherwise) to these practices.

12         67.   By intentionally disclosing to Meta Plaintiff’s and their other customers’

13 FIDs together with the specific title of the prerecorded video material that they each

14 purchased, without any of their consent to these practices, Defendant knowingly

15 violated the VPPA on an enormous scale.

16                          CLASS ACTION ALLEGATIONS

17         68.   Plaintiff seeks to represent a class defined as all persons in the United

18 States who, during the two years preceding the filing of this action, purchased

19 prerecorded video material or services from Defendant’s Website while maintaining

20 an account with Meta Platforms, Inc. f/k/a Facebook, Inc.

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 1         69.   Class members are so numerous that their individual joinder herein is

 2 impracticable. On information and belief, members of the Class number in at least the

 3 tens of thousands. The precise number of Class members and their identities are

 4 unknown to Plaintiff at this time but may be determined through discovery. Class

 5 members may be notified of the pendency of this action by mail and/or publication

 6 through the Defendant’s membership records.

 7         70.   Common questions of law and fact exist for all Class members and

 8 predominate over questions affecting only individual class members. Common legal

 9 and factual questions include but are not limited to (a) whether Defendant embedded

10 Meta Pixel on its Website that monitors and tracks actions taken by visitors to its

11 Website; (b) whether Defendant reports the actions and information of visitors to Meta;

12 (c) whether Defendant knowingly disclosed Plaintiff’s and Class members’ Private

13 Video Information to Meta; (d) whether Defendant’s conduct violates the Video

14 Privacy Protection Act, 18 U.S.C. § 2710; and (e) whether Plaintiff and Class members

15 are entitled to a statutory damage award of $2,500, as provided by the VPPA.

16         71.   The named Plaintiff’s claims are typical of the claims of the Class in that

17 the Defendant’s conduct toward the putative class is the same. That is, Defendant

18 embedded the Meta Pixel on its Website to monitor and track actions taken by

19 consumers on its Website and report this to Meta. Further, the named Plaintiff and the

20 Class members suffered invasions of their statutorily protected right to privacy (as

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 1 afforded by the VPPA), as well as intrusions upon their private affairs and concerns

 2 that would be highly offensive to a reasonable person, as a result of Defendant’s

 3 uniform and wrongful conduct in intentionally disclosing their Private Purchase

 4 Information to Meta.

 5         72.     Plaintiff is an adequate representative of the Class because she is

 6 interested in the litigation; her interests do not conflict with those of the Class members

 7 she seeks to represent; she has retained competent counsel experienced in prosecuting

 8 class actions; and she intends to prosecute this action vigorously. Plaintiff and her

 9 counsel will fairly and adequately protect the interests of all Class members.

10         73.     The class mechanism is superior to other available means for the fair and

11 efficient adjudication of Class members’ claims. Each individual Class member may

12 lack the resources to undergo the burden and expense of individual prosecution of the

13 complex and extensive litigation necessary to establish Defendant’s liability.

14 Individualized litigation increases the delay and expense to all parties and multiplies

15 the burden on the judicial system presented by this case’s complex legal and factual

16 issues.       Individualized litigation also presents a potential for inconsistent or

17 contradictory judgments.       In contrast, the class action device presents far fewer

18 management difficulties and provides the benefits of single adjudication of the

19 common questions of law and fact, economy of scale, and comprehensive supervision

20 by a single court on the issue of Defendant’s liability. Class treatment of the liability

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 1 issues will ensure that all claims and claimants are before this Court for consistent

 2 adjudication of the liability issues.

 3                                  CAUSE OF ACTION
               Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710
 4
            74.    Plaintiff repeats the allegations asserted in the preceding paragraphs as if
 5
     fully set forth herein.
 6
            75.    The VPPA prohibits a “video tape service provider” from knowingly
 7
     disclosing “personally identifying information” concerning any “consumer” to a third
 8
     party without the “informed, written consent (including through an electronic means
 9
     using the Internet) of the consumer.” 18 U.S.C. § 2710.
10
            76.    As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is
11
     “any person, engaged in the business, in or affecting interstate or foreign commerce,
12
     of rental, sale, or delivery of prerecorded video cassette tapes or similar audiovisual
13
     materials[.]” Defendant are each a “video tape service provider” as defined in 18
14
     U.S.C. § 2710(a)(4) because they engaged in the business of selling and delivering
15
     prerecorded video materials, similar to prerecorded video cassette tapes, to consumers
16
     nationwide.
17
            77.    As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter,
18
     purchaser, or consumer of goods or services from a video tape service provider.” As
19
     alleged above, Plaintiff and Class members are each a “consumer” within the meaning
20

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 1 of the VPPA because they each purchased prerecorded video material or services from

 2 Defendant’s Website that were sold and delivered to them by Defendant.

 3         78.   As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable

 4 information’ includes information which identifies a person as having requested or

 5 obtained specific video materials or services from a video tape service provider.” The

 6 Private Video Information that Defendant transmitted to Meta constitutes “personally

 7 identifiable information” as defined in 18 U.S.C. § 2710(a)(3) because it identified

 8 Plaintiff and Class members to Meta as an individual who “requested or obtained,”

 9 specific prerecorded video material from Defendant’s Website.

10         79.   Defendant knowingly disclosed Plaintiff’s and Class members’ Private

11 Video Information to Meta via the Meta Pixel technology because Defendant

12 intentionally installed and programmed the Meta Pixel code on its Website, knowing

13 that such code would transmit the prerecorded video material requested or obtained by

14 their consumers and the consumers’ unique identifiers (including FIDs).

15         80.   Defendant failed to obtain informed written consent from Plaintiff or

16 Class members authorizing Defendant to disclose their Private Video Information to

17 Meta or any other third party. More specifically, at no time prior to or during the

18 applicable statutory period did Defendant obtain from any person who requested or

19 obtained prerecorded video material or services on Defendant’s Website (including

20 Plaintiff or Class members) informed, written consent that was given in a form distinct

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 1 and separate from any form setting forth other legal or financial obligations of the

 2 consumer, that was given at the time the disclosure is sought or was given in advance

 3 for a set period of time, not to exceed two years or until consent is withdrawn by the

 4 consumer, whichever is sooner, or that was given after Defendant provided an

 5 opportunity, in a clear and conspicuous manner, for the consumer to withdraw consent

 6 on a case-by-case basis or to withdraw consent from ongoing disclosures, at the

 7 consumer’s election. See 18 U.S.C. § 2710(b)(2).

 8        81.     By disclosing Plaintiff’s and Class members’ Private Video Information,

 9 Defendant violated their statutorily protected right to privacy in their Private Video

10 Information.

11        82.     Consequently, Defendant is liable to Plaintiff and Class members for

12 damages in the statutorily set sum of $2,500. 18 U.S.C. § 2710(c)(2)(A).

13                                 PRAYER FOR RELIEF

14 WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

15 seeks a judgment against Defendant as follows:

16              a) For an order certifying the Class under Rule 23 of the Federal Rules of

17                 Civil Procedure and naming Plaintiff as the representative of the Class

18                 and Plaintiff’s attorneys as Class Counsel to represent the Class;

19              b) For an order declaring that Defendant’s conduct as described herein

20                 violated the VPPA;

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 1           c) For an order finding in favor of Plaintiff and the Class and against

 2              Defendant on all counts asserted herein;

 3           d) For an award of $2,500.00 to Plaintiff and each Class member, as

 4              provided by 18 U.S.C. § 2710(c);

 5           e) For an order permanently enjoining Defendant from disclosing the

 6              Private Video Information of its subscribers to third parties in violation

 7              of the VPPA;

 8           f) For prejudgment interest on all amounts awarded; and

 9           g) For an order awarding punitive damages, reasonable attorneys’ fees, and

10              costs to counsel for Plaintiff and the Class under Rule 23 and 18 U.S.C.

11              § 2710(c).

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 1
     Dated: January 13, 2025     Respectfully submitted,
 2
                                       HEDIN LLP
 3
                                       By: /s/ Frank S. Hedin       .
 4                                     FRANK S. HEDIN (SBN 291289)
                                       535 Mission Street, 14th Floor
 5                                     San Francisco, CA 94105
                                       Telephone: (305) 357-2107
 6                                     Facsimile: (305) 200-8801
                                       E-Mail:     fhedin@hedinllp.com
 7
                                       Counsel for Plaintiff and
                                       the Putative Class
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District
                                                         Central District ofof __________
                                                                             California
                          Teresa Turner
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:25-cv-00334-FMO-PD
                                                                              )
                 National Notary Association
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                           Momentive Software, Inc.
To:                                        9620 Executive Center Dr. N #200 St. Petersburg, FL 33702
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
             See Schedule A



 Place: HEDIN LLP                                                                       Date and Time:
         535 Mission Street, 14th Floor
         San Francisco, CA 94105                                                                         April 30, 2025 at 10:00 AM

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/14/2025

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Elliot O. Jackson
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Teresa Turner
                                                                        , who issues or requests this subpoena, are:
Elliot O. Jackson, 1395 Brickell Ave. Suite 610 Miami, Florida 33131, ejackson@hedinllp.com, 305-357-2107

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:25-cv-00334-FMO-PD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0       .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

                                             DEFINITIONS

        1.      “Action” refers to Turner v. National Notary Association, Case No. 2:25-cv-00334-

FMO-PD pending in the Central District of California. A copy of the operative pleading is attached

hereto as Exhibit 1.

        2.      “Communications” means any disclosure, transfer, or exchange of information or

opinion, however made.

        3.      “Concerning” means comprising, consisting, containing, setting forth, showing,

disclosing, describing, explaining, mentioning, evidencing, reflecting, embodying, summarizing,

relating to, or referring to, directly or indirectly.

        4.      “CrowdWisdom” refers to the learning management system and external platform

that Defendant uses to host prerecorded video courses.

        5.      “Defendant” refers to the National Notary Association.

        6.       “Documents” is defined to be synonymous in meaning and equal in scope to the

usage of this term in Federal Rule of Civil Procedure 34(a), and includes Electronically Stored

Information (“ESI”).

        7.      “Facebook” means the Facebook social media platform.

        8.      “Identify” means (a) to state a person’s full name, home address, business address,

and present and past relationship to any party; or (b) to state the title of any document, who

prepared it, when it was prepared, where it is located, and who its custodian is.

        9.      “Meta” means Meta Platforms, Inc., formerly known as Facebook, Inc., and

includes all predecessors, successors, divisions, subsidiaries, and affiliates, and any agents,

consultants, or other persons acting for or on behalf of any of them.
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       10.     “Personally Identifiable Information” means information that identifies a person as

having requested or obtained specific video materials or services from a video tape service

provider, and is synonymous in meaning and equal in scope to the usage of this term in 18 U.S.C.

§ 2710(a)(3). For the purposes of these requests, Defendant is a “video tape service provider.”

       11.     “Pixel” or “Pixels” means programming code that, once installed on a website,

sends information about the Website’s subscribers or users to Meta.

       12.     “Plaintiff” refers to the named plaintiff in the Action, Teresa Turner.

       13.     “VPPA” means the Video Privacy Protection Act, 18 U.S.C. § 2710.

       14.     “Website” means www.nationalnotary.org.

       15.     “You” and “Your” as used herein shall refer to Momentive Software, Inc. and any

of its parents, predecessors, other affiliates, successors, or subsidiaries, including officers,

directors, employees, partners, agents, consultants, or any other person acting or purporting to act

on behalf of such entities.

                                        INSTRUCTIONS

       1.      Unless otherwise specified, the relevant time period for purposes of these requests

is from January 13, 2023, through the date of Your responses and includes all documents and

information relating to events or transactions within this period, even if prepared, received, or

reviewed outside of this period.

       2.      Documents shall be produced in the manner and order in which they appear in Your

files, and shall not be shuffled or otherwise rearranged. Documents that were, in their original

condition, stapled, clipped, or otherwise fastened together shall be produced in such form.

       3.      For any objection grounded on a privilege or immunity, set forth the facts and

supporting material, including, where necessary, a privilege log disclosing the general nature of
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what is being withheld and substantiating the basis of any claim of privilege or immunity,

including:

       a. The name(s) of the author(s) of the document;
       b. The name(s) of the sender(s) of the document;
       c. The name(s) of the person(s) who received the document or to whom copies
       were sent or exhibited at any time;
       d. The name(s) of all persons presently having possession of the document or
       a copy thereof;
       e. A brief description of the nature and subject matter of the document; and
       f. The privilege asserted and the statute, rule, decision, or other basis that is
       claimed to give rise to the privilege.

   4. If no documents exist that are responsive to any request to identify or to produce, so state.

                                  DOCUMENT REQUESTS

       1.     All Documents concerning Plaintiff and Defendant, including any video materials

Plaintiff requested or obtained from the Website, the Website URLs she visited, or any other

information Concerning Plaintiff, Defendant, and the Website in Your custody, possession, or

control.

       2.     Without temporal restriction, all Documents concerning the Defendant’s purchase,

selection, installation, and configuration of the CrowdWisdom platform on the Website, including

all Documents, Communications, and other information concerning the creation of the account,

online agreement, and/or online dashboard configurations.

       3.     Without temporal restriction, all Communications between You or CrowdWisdom

and Defendant relating to any purchases made on the Website, including Communications

describing what information would be or has been transmitted to You or CrowdWisdom by

Defendant or via the Pixels embedded on the Website.

       4.     Without temporal restriction, Documents sufficient to indicate the period of time

that You or CrowdWisdom has received information from the Website.
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       5.     Without temporal restriction, Documents sufficient to Identify how the

CrowdWisdom system was set up, configured, and implemented for the Website and/or Defendant.

       6.     Documents sufficient to show transmissions of data or information from the

Website and/or Defendant to You or CrowdWisdom.

       7.     Without temporal restriction, Documents sufficient to show all discrete types or

categories of information or events that the Website and/or Defendant transmit, or has or have

transmitted, to You or CrowdWisdom.

       8.     Documents sufficient to Identify all Personally Identifiable Information disclosed

to You or CrowdWisdom by the Website and/or Defendant.

       9.     Documents sufficient to show the number of purchasers from Defendant’s Website

for whom the following information was transmitted to You or CrowdWisdom: (i) the titles of any

prerecorded video materials or subscriptions accessed, viewed, requested, purchased, or obtained

by the Meta user; (ii) the URL of any prerecorded video materials accessed, viewed, requested or

obtained by the user; (iv) the URLs of any pages accessed, viewed, requested, or obtained by the

user; (v) and/or any other data or information that provides the title of the prerecorded video

materials the Meta user requested or obtained.

       10.    Documents sufficient to Identify each person whose Personally Identifiable

Information was disclosed to You or CrowdWisdom by the Website and/or Defendant.

       11.    Documents sufficient to demonstrate all purposes for which You or CrowdWisdom

uses or used data or information transmitted by the Website and/or Defendant.

       12.    All Documents and Communications relating to this Action, including

Communications between You or CrowdWisdom and Defendant, non-privileged Documents and
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Communications internal to You or CrowdWisdom, and non-privileged Communications between

You or CrowdWisdom and any other third party.

      13.    Any and all contracts and indemnification agreements between You and Defendant.
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 4 E-Mail:     fhedin@hedinllp.com
   Counsel for Plaintiff and
 5 the Putative Class

 6
                               UNITED STATES DISTRICT COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA

 8
     TERESA TURNER, individually and Case No. 2:25-cv-334
 9   on behalf of all others similarly
     situated,
10
                Plaintiff,                    CLASS ACTION COMPLAINT
11
     V.
                                              DEMAND FOR JURY TRIAL
12
     NATIONAL NOTARY
13   ASSOCIATION,

14              Defendant.

15         Plaintiff Teresa Turner, individually and on behalf of all others similarly

16 situated, makes the following allegations pursuant to the investigation of counsel and

17 based upon information and belief, except as to allegations pertaining specifically to

18 herself or her counsel, which are based on personal knowledge.

19                 A.        NATURE OF THE CASE

20         1.     Plaintiff brings this action to redress Defendant’s practice of selling,

21 renting, transmitting, and/or otherwise disclosing to Meta, records containing the

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 1 personal information of each of its customers, along with detailed information

 2 revealing the titles and subject matter of the videos and other audiovisual materials

 3 purchased by each customer in violation of the Video Privacy Protection Act, 18 U.S.C.

 4 § 2710 et seq. (“VPPA”).

 5         2.    Over the past two years, Defendant has systematically transmitted (and

 6 continue to transmit today) its customers’ personally identifying video viewing

 7 information to third parties, such as Meta Platforms, Inc. (“Meta”). The programming

 8 code for Meta is called the “Meta Pixel,” which Defendant chose to install on the

 9 www.nationalnotary.org website.

10         3.    The information Defendant disclosed (and continues to disclose) to Meta

11 via the Meta Pixel includes the customer’s Facebook ID (“FID”) and the specific title

12 of prerecorded videos that each of its customers purchased on Defendant’s Website.

13 An FID is a unique sequence of numbers linked to a specific Meta profile. A Meta

14 profile, in turn, identifies by name the specific person to whom the profile belongs (and

15 also contains other personally identifying information about the person). Entering

16 “Facebook.com/[FID]” into a web browser returns the Meta profile of the person to

17 whom the FID corresponds. Thus, the FID identifies a person more precisely than a

18 name, as numerous persons may share the same name, but each person’s Facebook

19 profile (and associated FID) uniquely identifies one and only one person. In the

20 simplest terms, the Meta Pixel installed by Defendant captures and discloses to Meta

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 1 information that reveals a particular person purchased a specific title of a prerecorded

 2 video on Defendant’s Website (hereinafter, “Private Video Information”).

 3          4.     Defendant disclosed and continue to disclose its customers’ Private Video

 4 Information to Meta without asking for, let alone obtaining, their consent to these

 5 practices.

 6          5.     The VPPA clearly prohibits what Defendant has done. Subsection (b)(1)

 7 of the VPPA provides that, absent the consumer’s prior informed, written consent, any

 8 “video tape service provider who knowingly discloses, to any person, personally

 9 identifiable information concerning any consumer of such provider shall be liable to

10 the aggrieved person for,” 18 U.S.C. § 2710(b)(1), damages in the amount of

11 $2,500.00, see id. § 2710(c).

12          6.     Accordingly, on behalf of herself and the putative Class members defined

13 below, Plaintiff brings this Class Action Complaint against Defendant for intentionally

14 and unlawfully disclosing her and Putative Class members’ Private Video Information

15 to Meta.

16                  B.    PARTIES

17     I.        Plaintiff Teresa Turner

18          7.     Plaintiff is, and at all times relevant hereto was, a citizen and resident of

19 San Luis Obispo County, California.

20          8.     Plaintiff is, and at all times relevant hereto was, a user of Meta.

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 1         9.     Plaintiff is a consumer of the video products and services offered on

 2 Defendant’s www.nationalnotary.org website. Including on or about August 2024,

 3 Plaintiff      purchased     prerecorded      video     material     from      Defendant’s

 4 www.nationalnotary.org website by requesting and paying for such material, providing

 5 her name, email address, and home address for delivery of such material. Defendant

 6 completed the sales of goods to Plaintiff by shipping or delivering the prerecorded

 7 video material she purchased to the address she provided in her order. Accordingly,

 8 Plaintiff requested or obtained, and is therefore a consumer of, prerecorded video

 9 material sold by Defendant on its website.

10         10.    At all times relevant hereto, including when requesting or obtaining

11 prerecorded video material from Defendant’s website, Plaintiff had a Meta account, a

12 Meta profile displaying her name and picture, and an FID associated with such profile.

13         11.    Plaintiff has never consented, agreed, authorized, or otherwise permitted

14 Defendant to disclose her Private Video Information to Meta. In fact, Defendant has

15 never even provided Plaintiff with written notice of its practices of disclosing its

16 customers’ Private Video Information to third parties such as Meta.

17         12.    Prior to and at the time she purchased prerecorded video material from

18 Defendant, Defendant did not notify Plaintiff that it would disclose the Private Video

19 Information of its customers generally or that of Plaintiff in particular, and Plaintiff has

20 never consented, agreed, authorized, or otherwise permitted Defendant to disclose her

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 1 Private Video Information to third parties. Plaintiff has never been provided any

 2 written notice that Defendant discloses its customers’ Private Video Information or any

 3 means of opting out of such disclosures of her Private Video Information.

 4            13.     Because Defendant disclosed Plaintiff’s Private Video Information

 5 (including her FID, unique identifiers, and her request or purchase of prerecorded video

 6 material from Defendant’s website) to third parties during the applicable statutory

 7 period, Defendant violated Plaintiff’s rights under the VPPA and invaded her

 8 statutorily conferred interest in keeping such information (which bears on her personal

 9 affairs and concerns) private.

10      II.         Defendant

11            14.     Defendant National Notary Association is a not-for-profit corporation

12 organized under the laws of California, with its headquarters at 9350 De Soto Ave.,

13 Chatsworth, California 91311. Defendant is the largest and oldest organization in the

14 United States serving notaries and training persons to be notaries through certifications,

15 trainings, seminars, conferences, and printed and online educational materials that

16 accompany these programs.

17                     C.    JURISDICTION AND VENUE

18            15.     The Court has subject-matter jurisdiction over this civil action pursuant to

19 28 U.S.C. § 1331 and 18 U.S.C. § 2710.

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 1         16.   Personal jurisdiction and venue are proper because Defendant maintains

 2 its headquarters and principal place of business in Los Angeles, California, within this

 3 judicial District.

 4                       VIDEO PRIVACY PROTECTION ACT

 5         17.   The VPPA prohibits companies (like Defendant) from knowingly

 6 disclosing to third parties (like Meta) information that personally identifies consumers

 7 (like Plaintiff) as having requested or obtained specific video(s) or other audio-visual

 8 materials from its Website.

 9         18.   Specifically, subject to certain exceptions that do not apply here, the

10 VPPA prohibits “a video tape service provider” from “knowingly disclos[ing], to any

11 person, personally identifiable information concerning any consumer of such

12 provider[.]” 18 U.S.C. § 2710(b)(1). The statute defines a “video tape service

13 provider” as “any person, engaged in the business . . . of rental, sale, or delivery of

14 prerecorded video cassette tapes or similar audio visual materials,” 18 U.S.C. §

15 2710(a)(4). It defines a “consumer” as “a renter, purchaser, or subscriber of goods or

16 services from a video tape service provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally

17 identifiable information’ includes information which identifies a person as having

18 requested or obtained specific video materials or services from a video tape service

19 provider.” 18 U.S.C. § 2710(a)(3).

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 1         19.   Leading up to the VPPA’s enactment in 1988, members of the United

 2 States Senate warned that “[e]very day Americans are forced to provide to businesses

 3 and others personal information without having any control over where that

 4 information goes.” Id. Senators at the time were particularly troubled by disclosures

 5 of records that reveal consumers’ purchases and rentals of videos and other audiovisual

 6 materials because such records offer “a window into our loves, likes, and dislikes,”

 7 such that “the trail of information generated by every transaction that is now recorded

 8 and stored in sophisticated record-keeping systems is a new, more subtle and pervasive

 9 form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens. Simon

10 and Leahy, respectively).

11         20.   Thus, in proposing the Video and Library Privacy Protection Act (which

12 later became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont

13 from 1975 to 2023) sought to codify, as a matter of law, that “our right to privacy

14 protects the choice of movies that we watch with our family in our own homes.” 134

15 Cong. Rec. S5399 (May 10, 1988). As Senator Leahy explained at the time, the

16 personal nature of such information, and the need to protect it from disclosure, is the

17 raison d’être of the statute: “These activities are at the core of any definition of

18 personhood. They reveal our likes and dislikes, our interests and our whims. They say

19 a great deal about our dreams and ambitions, our fears and our hopes. They reflect our

20 individuality, and they describe us as people.” Id.

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 1         21.   While these statements rang true in 1988 when the act was passed, the

 2 importance of legislation like the VPPA in the modern era of data mining is more

 3 pronounced than ever before. During a more recent Senate Judiciary Committee

 4 meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st

 5 Century,” Senator Leahy emphasized the point by stating: “While it is true that

 6 technology has changed over the years, we must stay faithful to our fundamental right

 7 to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’ mobile

 8 apps and other new technologies have revolutionized the availability of Americans’

 9 information.”1

10         22.   Former Senator Al Franken may have said it best: “If someone wants to

11 share what they watch, I want them to be able to do so . . . But I want to make sure that

12 consumers have the right to easily control who finds out what they watch—and who

13 doesn’t. The Video Privacy Protection Act guarantees them that right.”2

14         23.   In this case, however, Defendant deprived Plaintiff and numerous other

15 similarly situated persons of that right by systematically (and surreptitiously)

16
     1
     The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century,
17 Senate Judiciary Committee Subcommittee on Privacy, Technology and the Law,
   http://www.judiciary.          senate.gov/meetings/the-video-privacy-protection-act-
18 protecting-viewer-privacy-in-the- 21stcentury.
     2
19     Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
     franken.senate.gov (Jan. 31, 2012).
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 1 disclosing their Private Video Information to Meta, without providing notice to (let

 2 alone obtaining consent from) any of them, as explained in detail below.

 3                                BACKGROUND FACTS

 4         I.    Consumers’ Personal Information Has Real Market Value

 5         24.   In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

 6 Swindle remarked that “the digital revolution . . . has given an enormous capacity to

 7 the acts of collecting and transmitting and flowing of information, unlike anything

 8 we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

 9 defined by the existing data on themselves.”3

10         25.   Over two decades later, Commissioner Swindle’s comments ring truer

11 than ever, as consumer data feeds an information marketplace that supports a 26 billion

12 dollar per year online advertising industry in the United States.4

13         26.   The FTC has also recognized that consumer data possesses inherent

14 monetary value within the new information marketplace and publicly stated that:

15

16
     3
17   Transcript, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
   https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-
18 merging-and-exchanging-consumer-data/transcript.pdf.
     4
    See Julia Angwin and Emily Steel, Web’s Hot New Commodity: Privacy, Wall
19 Street       Journal         (Feb.     28,      2011),     available    at
   https://www.wsj.com/articles/SB10001424052748703529004576160764037920274.
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 1         Most consumers cannot begin to comprehend the types and amount of

 2 information collected by businesses, or why their information may be commercially

 3 valuable. Data is currency. The larger the data set, the greater potential for analysis –

 4 and profit.5

 5         27.    In fact, an entire industry exists while companies known as data

 6 aggregators purchase, trade, and collect massive databases of information about

 7 consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

 8 information in an open and largely unregulated market.6

 9         28.    The scope of data aggregators’ knowledge about consumers is immense:

10 “If you are an American adult, the odds are that [they] know[] things like your age,

11 race, sex, weight, height, marital status, education level, politics, buying habits,

12 household health worries, vacation dreams—and on and on.”7

13

14   5
       Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
   https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
15 exploring-privacy-roundtable/091207privacyroundtable.pdf
     6
16  See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31,
   2012), available at http://moneyland.time.com/2012/07/31/big-data-knows-what-
17 youre-doing-right-now/ .
     7
     N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times
18 (June                16,              2012),              available           at
   https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
19 consumer-database-
   marketing.html#:~:text=It's%20called%20the%20Acxiom%20Corporation,to%20kno
20 w%20much%2C%20much%20more.

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 1         29.   Further, “[a]s use of the Internet has grown, the data broker industry has

 2 already evolved to take advantage of the increasingly specific pieces of information

 3 about consumers that are now available.”8

 4         30.   Recognizing the severe threat the data mining industry poses to

 5 consumers’ privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-

 6 Partisan Privacy Caucus sent a letter to nine major data brokerage companies seeking

 7 information on how those companies collect, store, and sell their massive collections

 8 of consumer data, stating in pertinent part:

 9         By combining data from numerous offline and online sources, data
           brokers have developed hidden dossiers on every U.S. consumer. This
10         large[-]scale aggregation of the personal information of hundreds of
           millions of American citizens raises a number of serious privacy
11         concerns.9

12         31.   Data aggregation is especially troublesome when consumer information

13 is sold to direct-mail advertisers. In addition to causing waste and inconvenience,

14 direct-mail advertisers often use consumer information to lure unsuspecting consumers

15

16
     8
    Letter from Sen. J. Rockefeller IV, Sen. Cmtee. On Commerce, Science,
17 and Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012)
   available at https://www.commerce.senate.gov/services/files/3bb94703-5ac8-4157-
18 a97b-%20a658c3c3061c.
     9
19   See Bipartisan Group of Lawmakers Query Data Brokers About Practices
   Involving Consumers’ Personal        Information, Website        of     Sen.
           Markey         (July         24,         2012),         available        at
20 https://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
   query-data-brokers-about-practices-involving-consumers-personal-information.
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 1 into various scams, including fraudulent sweepstakes, charities, and buying clubs.

 2 Thus, when companies like Defendant share information with data aggregators, data

 3 cooperatives, and direct-mail advertisers, they contribute to the “[v]ast databases” of

 4 consumer data that are often “sold to thieves by large publicly traded companies,”

 5 which “put[s] almost anyone within the reach of fraudulent telemarketers” and other

 6 criminals.10

 7              32.   Disclosures like Defendant’s are particularly dangerous to the elderly.

 8 “Older Americans are perfect telemarketing customers, analysts say, because they are

 9 often at home, rely on delivery services, and are lonely for the companionship that

10 telephone callers provide.”11

11              33.   The FTC notes that “[t]he elderly often are the deliberate targets of

12 fraudulent telemarketers who take advantage of the fact that many older people have

13 cash reserves or other assets to spend on seemingly attractive offers.”12

14              34.   Indeed, an entire black market exists while the personal information of

15 vulnerable elderly Americans is exchanged.            Thus, information disclosures like

16

17
     10
     See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May
18 20, 2007), available at https://www.nytimes.com/2007/05/20/business/20tele.html.
     11
19        Id.
     12
     Prepared Statement of the FTC on “Fraud Against Seniors” before the Special
20 Committee on Aging, United States Senate (August 10, 2000).

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 1 Defendant’s are particularly troublesome because of their cascading nature: “Once

 2 marked as receptive to [a specific] type of spam, a consumer is often bombarded with

 3 similar fraudulent offers from a host of scam artists.”13

 4               35.     Defendant is not alone in violating its customers’ statutory rights and

 5 jeopardizing their well-being in exchange for increased revenue: disclosing customer

 6 and subscriber information to data aggregators, data appenders, data cooperatives,

 7 direct marketers, and other third parties has become a widespread practice.

 8 Unfortunately for consumers, however, this growth has come at the expense of their

 9 most basic privacy rights.

10         II.         Consumers Place Monetary Value on Their Privacy and Consider
                       Privacy Practices When Making Purchases
11
                 36.     As the data aggregation industry has grown, so has consumer concerns
12
     regarding personal information.
13
                 37.     A survey conducted by Harris Interactive on behalf of TRUSTe, Inc.
14
     showed that 89 percent of consumers polled avoid doing business with companies who
15
     they believe do protect their privacy online.14 As a result, 81 percent of smartphone
16

17
     13
          Id.
18   14
       See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
19 http://www.theagitator.net/wp-
   content/uploads/012714_ConsumerConfidenceReport_US1.pdf.
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 1 users polled said that they avoid using smartphone apps that they don’t believe protect

 2 their privacy online.15

 3              38.   Thus, as consumer privacy concerns grow, consumers increasingly

 4 incorporate privacy concerns and values into their purchasing decisions, and

 5 companies viewed as having weaker privacy protections are forced to offer greater

 6 value elsewhere (through better quality and/or lower prices) than their privacy-

 7 protective competitors. In fact, consumers’ personal information has become such a

 8 valuable commodity that companies are beginning to offer individuals the opportunity

 9 to sell their personal information themselves.16

10              39.   These companies’ business models capitalize on a fundamental tenet

11 underlying the personal information marketplace: consumers recognize the economic

12 value of their private data. Research shows that consumers are willing to pay a

13 premium to purchase services from companies that adhere to more stringent policies

14 of protecting their personal data.17

15

16   15
          Id.
     16
17    See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal
   Data,
18 N.Y.          Times         (Feb.       12,        2012),         available        at
   https://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
   price-on-their-personal-data.html.
19
   17
      See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information
20 on Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see
   also European Network and Information Security Agency, Study on Monetizing Privacy
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 1           40.      Thus, in today’s digital economy, individuals and businesses alike place

 2 a real, quantifiable value on consumer data and corresponding privacy rights.18 As

 3 such, where a business offers customers a product or service that includes statutorily

 4 guaranteed privacy protections, yet fails to honor these guarantees, the customer

 5 receives a product or service of less value than the product or service paid for.

 6        III.     Defendant Use the Meta Pixel to Systematically Disclose its customers’
                   Private Video Information to Meta
 7
             41.     As alleged below, when a consumer requests or obtains a particular
 8
     prerecorded video on Defendant’s Website, the Meta Pixel technology that Defendant
 9
     intentionally installed on its Website transmits (1) the unencrypted FID for each
10
     purchaser; (2) detailed information revealing the titles and subject matter of the
11
     prerecorded videos requested or obtained by each of its purchasers; and (3) the URL
12
     where such videos are available for purchase, without the consumer’s consent and in
13
     clear violation of the VPPA.
14

15

16

17
   (Feb. 27, 2012), available at https://www.enisa.europa.eu/publications/monetising-
18 privacy.
     18
19      See Hann, et al., The Value of Online Information Privacy: An Empirical
     Investigation      (Oct.        2003)          at       2, available    at
     https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf.
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 1            A.    The Meta Pixel

 2            42.   On February 4, 2004, Mark Zuckerberg and others launched Facebook,

 3 now known as “Meta”.19 Meta is now the world’s largest social media platform. To

 4 create a Meta account, a person must provide, inter alia, his or her first and last name,

 5 birth date, gender, and phone number or email address.

 6            43.   The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a

 7 unique string of code that companies can embed on their websites to monitor and track

 8 the actions taken by visitors to their websites and to report them back to Meta. This

 9 allows companies like Defendant to build detailed profiles about its customers and to

10 serve them with highly targeted advertising.

11            44.   Additionally, the Meta Pixel installed on a company’s website allows

12 Meta to “match [] website visitors to their respective Facebook User accounts.”20 This

13 is because Meta has assigned to each of its users an “FID” number – a unique and

14 persistent identifier that allows anyone to look up the user’s unique Meta profile and

15 thus identify the user by name21 – and because each transmission of information made

16

17
     19
18        See Facebook, “Company Info,” available at https://about.fb.com/company-info./.
     20
           Meta,     “Get      Started   –      Meta       Pixel,”         available        at
19 https://developers.facebook.com/docs/meta-pixel/get-started/.

20   21
       For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into
     Facebook and typing www.facebook.com/4 in the web browser retrieves Mark
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 1 from a company’s website to Meta via the Meta Pixel is accompanied by, inter alia,

 2 the FID of the website’s visitor.

 3              45.   As Meta’s developer’s guide explains, installing the Meta Pixel on a

 4 website allows Meta to track actions that users with Meta accounts take on the site.

 5 Meta states that “Examples of [these] actions include adding an item to their shopping

 6 cart or making a purchase.”22

 7              46.   Meta’s Business Tools Terms govern the use of Meta’s Business Tools,

 8 including the Meta Pixel.23

 9              47.   Meta’s Business Tools Terms state that website operators may use Meta’s

10 Business Tools, including the Meta Pixel, to transmit the “Contact Information” and

11 “Event Data” of their website’s visitors to Meta.

12              48.   Meta’s Business Tools Terms define “Contact Information” as

13 “information that personally identifies individuals, such as names, email addresses, and

14 phone numbers . . . .”24

15

16 Zuckerberg’s Facebook page: www.facebook.com/zuck, and all of the additional
   personally identifiable information contained therein.
17
   22
             Meta,          “About        Meta          Pixel,” available    at
18 https://www.facebook.com/business/help/742478679120153?id=1205376682832142.
     23
19           Meta,    “Meta      Business     Tools            Terms,”       available     at
     https://www.facebook.com/legal/technology_terms.
20   24
          Id.
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 1              49.   Meta’s Business Tools Terms state: “You instruct us to process the

 2 Contact Information solely to match the Contact Information against user IDs [e.g.,

 3 FIDs] (“Matched User IDs”), as well as to combine those user IDs with corresponding

 4 Event Data.”25

 5              50.   The Business Tools Terms define “Event Data” as, inter alia,

 6 “information that you share about people and the actions that they take on your

 7 websites and apps or in your shops, such as visits to your sites, installations of your

 8 apps, and purchases of your products.”26

 9              51.   Website operators use the Meta Pixel to send information about visitors

10 to their Websites to Meta. Every transmission to Meta accomplished through the Meta

11 Pixel includes at least two elements: (1) the website visitor’s FID and (2) the webpage’s

12 URL triggering the transmission.

13              52.   Depending on the configuration of the Meta Pixel, the website may also

14 send Event Data to Meta. Defendant have configured the Meta Pixel on its Website to

15 send Event Data to Meta.

16

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19   25
          Id.
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 1            53.   When website operators make transmissions to Meta through the Meta

 2 Pixel, none of the following categories of information are hashed or encrypted: the

 3 visitor’s FID, the website URL, or the Event Data.

 4            54.   Every website operator installing the Meta Pixel must agree to the Meta

 5 Business Tools Terms.27

 6            55.   Moreover, the Meta Pixel can follow a consumer to different websites and

 7 across the Internet even after the consumer’s browser history has been cleared.

 8            56.   Meta has used the Meta Pixel to amass a vast digital database of dossiers

 9 comprised of highly detailed personally identifying information about each of its

10 billions of users worldwide, including information about all of its users’ interactions

11 with any of the millions of websites across the Internet on which the Meta Pixel is

12 installed. Meta then monetizes this Orwellian database by selling advertisers the ability

13 to serve highly targeted advertisements to the persons whose personal information is

14 contained within it.

15            57.   Simply put, if a company chooses to install the Meta Pixel on its website,

16 both the company who installed it and Meta (the recipient of the information it

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 1 transmits) are then able to “track [] the people and type of actions they take,”28

 2 including, as relevant here, the specific prerecorded video material that they purchase

 3 from Defendant’s website.

 4         B.     Defendant Knowingly Uses the Meta Pixel to Transmit the Private
                  Video Information of its Customers to Meta
 5
           58.    Defendant sells various prerecorded video materials on its Website,
 6
     www.nationalnotary.org, including online courses and certification programs on
 7
     various topics, including becoming a licensed notary or signing agent.
 8
           59.    To purchase prerecorded video material from both Defendant’s Website,
 9
     a person must provide at least his or her name, email address, billing address, and credit
10
     or debit card (or other form of payment) information.
11
           60.    During the purchase process on Defendant’s Website, Defendant uses –
12
     and has used at all times relevant hereto – the Meta Pixel to disclose to Meta the
13
     unencrypted FID of the person who made the purchase and the specific title of video
14
     material that the person purchased (as well as the URL where such video material is
15
     available for purchase).
16

17

18   28
      Meta, “Retargeting: How to Advertise to Existing Customers with Ads on
19 Facebook,”                               available                      at
   https://www.facebook.com/business/goals/retargeting?checkpoint_src=any.
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 1         61.    In order to take advantage of the targeted advertising and other

 2 informational and analytical services offered by Meta, Defendant intentionally

 3 programmed its Website (by following step-by-step instructions from Meta’s website)

 4 to include the Meta Pixel code, which systematically transmits to Meta the FID of each

 5 person with a Meta account who purchases prerecorded video material on Defendant’s

 6 Website, along with the specific title of the prerecorded video material that the person

 7 purchased.

 8         62.    With only a person’s FID and the title of the prerecorded video material

 9 (or URL where such material is available for purchase) that the person purchased from

10 Defendant’s Website —all of which Defendant knowingly and systematically provides

11 to Meta—any ordinary person could learn the identity of the person to whom the FID

12 corresponds and the subscription or the title of the specific prerecorded video material

13 that the person purchased (and thus requested and obtained). This can be accomplished

14 simply by accessing the URL www.facebook.com/ and inserting the person’s FID.

15         63.    Defendant’s practice of disclosing the Private Video Information of its

16 customers to Meta continued unabated for the duration of the two-year period

17 preceding the filing of this action. At all times relevant hereto, whenever Plaintiff or

18 any other person purchased prerecorded video material from Defendant on its Website,

19 Defendant disclosed to Meta (inter alia) the specific title of the video material that was

20 requested or obtained (including the URL where such material is available for

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 1 purchase), along with the FID of the person who requested or obtained it (which, as

 2 discussed above, uniquely identified the person).

 3         64.   At all times relevant hereto, Defendant knew the Meta Pixel was

 4 disclosing its customers’ Private Video Information to Meta.

 5         65.   Although Defendant could easily have programmed its Website so that

 6 none of its customers’ Private Video Information is disclosed to Meta, Defendant

 7 instead chose to program its Website so that all of its customers’ Private Video

 8 Information is disclosed to Meta.

 9         66.   Before transmitting its customers’ Private Video Information to Meta,

10 Defendant failed to notify any of them that it would do so, and none of them have ever

11 consented (in writing or otherwise) to these practices.

12         67.   By intentionally disclosing to Meta Plaintiff’s and their other customers’

13 FIDs together with the specific title of the prerecorded video material that they each

14 purchased, without any of their consent to these practices, Defendant knowingly

15 violated the VPPA on an enormous scale.

16                          CLASS ACTION ALLEGATIONS

17         68.   Plaintiff seeks to represent a class defined as all persons in the United

18 States who, during the two years preceding the filing of this action, purchased

19 prerecorded video material or services from Defendant’s Website while maintaining

20 an account with Meta Platforms, Inc. f/k/a Facebook, Inc.

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 1         69.   Class members are so numerous that their individual joinder herein is

 2 impracticable. On information and belief, members of the Class number in at least the

 3 tens of thousands. The precise number of Class members and their identities are

 4 unknown to Plaintiff at this time but may be determined through discovery. Class

 5 members may be notified of the pendency of this action by mail and/or publication

 6 through the Defendant’s membership records.

 7         70.   Common questions of law and fact exist for all Class members and

 8 predominate over questions affecting only individual class members. Common legal

 9 and factual questions include but are not limited to (a) whether Defendant embedded

10 Meta Pixel on its Website that monitors and tracks actions taken by visitors to its

11 Website; (b) whether Defendant reports the actions and information of visitors to Meta;

12 (c) whether Defendant knowingly disclosed Plaintiff’s and Class members’ Private

13 Video Information to Meta; (d) whether Defendant’s conduct violates the Video

14 Privacy Protection Act, 18 U.S.C. § 2710; and (e) whether Plaintiff and Class members

15 are entitled to a statutory damage award of $2,500, as provided by the VPPA.

16         71.   The named Plaintiff’s claims are typical of the claims of the Class in that

17 the Defendant’s conduct toward the putative class is the same. That is, Defendant

18 embedded the Meta Pixel on its Website to monitor and track actions taken by

19 consumers on its Website and report this to Meta. Further, the named Plaintiff and the

20 Class members suffered invasions of their statutorily protected right to privacy (as

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 1 afforded by the VPPA), as well as intrusions upon their private affairs and concerns

 2 that would be highly offensive to a reasonable person, as a result of Defendant’s

 3 uniform and wrongful conduct in intentionally disclosing their Private Purchase

 4 Information to Meta.

 5         72.     Plaintiff is an adequate representative of the Class because she is

 6 interested in the litigation; her interests do not conflict with those of the Class members

 7 she seeks to represent; she has retained competent counsel experienced in prosecuting

 8 class actions; and she intends to prosecute this action vigorously. Plaintiff and her

 9 counsel will fairly and adequately protect the interests of all Class members.

10         73.     The class mechanism is superior to other available means for the fair and

11 efficient adjudication of Class members’ claims. Each individual Class member may

12 lack the resources to undergo the burden and expense of individual prosecution of the

13 complex and extensive litigation necessary to establish Defendant’s liability.

14 Individualized litigation increases the delay and expense to all parties and multiplies

15 the burden on the judicial system presented by this case’s complex legal and factual

16 issues.       Individualized litigation also presents a potential for inconsistent or

17 contradictory judgments.       In contrast, the class action device presents far fewer

18 management difficulties and provides the benefits of single adjudication of the

19 common questions of law and fact, economy of scale, and comprehensive supervision

20 by a single court on the issue of Defendant’s liability. Class treatment of the liability

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 1 issues will ensure that all claims and claimants are before this Court for consistent

 2 adjudication of the liability issues.

 3                                  CAUSE OF ACTION
               Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710
 4
            74.    Plaintiff repeats the allegations asserted in the preceding paragraphs as if
 5
     fully set forth herein.
 6
            75.    The VPPA prohibits a “video tape service provider” from knowingly
 7
     disclosing “personally identifying information” concerning any “consumer” to a third
 8
     party without the “informed, written consent (including through an electronic means
 9
     using the Internet) of the consumer.” 18 U.S.C. § 2710.
10
            76.    As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is
11
     “any person, engaged in the business, in or affecting interstate or foreign commerce,
12
     of rental, sale, or delivery of prerecorded video cassette tapes or similar audiovisual
13
     materials[.]” Defendant are each a “video tape service provider” as defined in 18
14
     U.S.C. § 2710(a)(4) because they engaged in the business of selling and delivering
15
     prerecorded video materials, similar to prerecorded video cassette tapes, to consumers
16
     nationwide.
17
            77.    As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter,
18
     purchaser, or consumer of goods or services from a video tape service provider.” As
19
     alleged above, Plaintiff and Class members are each a “consumer” within the meaning
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 1 of the VPPA because they each purchased prerecorded video material or services from

 2 Defendant’s Website that were sold and delivered to them by Defendant.

 3         78.   As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable

 4 information’ includes information which identifies a person as having requested or

 5 obtained specific video materials or services from a video tape service provider.” The

 6 Private Video Information that Defendant transmitted to Meta constitutes “personally

 7 identifiable information” as defined in 18 U.S.C. § 2710(a)(3) because it identified

 8 Plaintiff and Class members to Meta as an individual who “requested or obtained,”

 9 specific prerecorded video material from Defendant’s Website.

10         79.   Defendant knowingly disclosed Plaintiff’s and Class members’ Private

11 Video Information to Meta via the Meta Pixel technology because Defendant

12 intentionally installed and programmed the Meta Pixel code on its Website, knowing

13 that such code would transmit the prerecorded video material requested or obtained by

14 their consumers and the consumers’ unique identifiers (including FIDs).

15         80.   Defendant failed to obtain informed written consent from Plaintiff or

16 Class members authorizing Defendant to disclose their Private Video Information to

17 Meta or any other third party. More specifically, at no time prior to or during the

18 applicable statutory period did Defendant obtain from any person who requested or

19 obtained prerecorded video material or services on Defendant’s Website (including

20 Plaintiff or Class members) informed, written consent that was given in a form distinct

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 1 and separate from any form setting forth other legal or financial obligations of the

 2 consumer, that was given at the time the disclosure is sought or was given in advance

 3 for a set period of time, not to exceed two years or until consent is withdrawn by the

 4 consumer, whichever is sooner, or that was given after Defendant provided an

 5 opportunity, in a clear and conspicuous manner, for the consumer to withdraw consent

 6 on a case-by-case basis or to withdraw consent from ongoing disclosures, at the

 7 consumer’s election. See 18 U.S.C. § 2710(b)(2).

 8        81.     By disclosing Plaintiff’s and Class members’ Private Video Information,

 9 Defendant violated their statutorily protected right to privacy in their Private Video

10 Information.

11        82.     Consequently, Defendant is liable to Plaintiff and Class members for

12 damages in the statutorily set sum of $2,500. 18 U.S.C. § 2710(c)(2)(A).

13                                 PRAYER FOR RELIEF

14 WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

15 seeks a judgment against Defendant as follows:

16              a) For an order certifying the Class under Rule 23 of the Federal Rules of

17                 Civil Procedure and naming Plaintiff as the representative of the Class

18                 and Plaintiff’s attorneys as Class Counsel to represent the Class;

19              b) For an order declaring that Defendant’s conduct as described herein

20                 violated the VPPA;

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 1           c) For an order finding in favor of Plaintiff and the Class and against

 2              Defendant on all counts asserted herein;

 3           d) For an award of $2,500.00 to Plaintiff and each Class member, as

 4              provided by 18 U.S.C. § 2710(c);

 5           e) For an order permanently enjoining Defendant from disclosing the

 6              Private Video Information of its subscribers to third parties in violation

 7              of the VPPA;

 8           f) For prejudgment interest on all amounts awarded; and

 9           g) For an order awarding punitive damages, reasonable attorneys’ fees, and

10              costs to counsel for Plaintiff and the Class under Rule 23 and 18 U.S.C.

11              § 2710(c).

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     Dated: January 13, 2025     Respectfully submitted,
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